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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                             __________  District of
                                                Southern District of Florida
                                                                     __________


PROGRESSIVE EXPRESS INSURANCE COMPANY,                         )
                             Plaintiff                         )
                                v.                             )      Case No.
YVETTE RIVERA, as Personal Representative, et. al.             )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          PROGRESSIVE EXPRESS INSURANCE COMPANY                                                                        .


Date:          07/29/2024                                                                /s/ Patrick K. Dahl
                                                                                         Attorney’s signature


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